          Case 8:21-cr-00030-GLS Document 1 Filed 02/22/21 Page 1 of____
                                                                      1 FILED               ___ ENTERED
                                                                                 ____ LOGGED _____ RECEIVED

                                                                                 1:55 pm, Feb 22 2021
                                                                                 AT GREENBELT
HMG/PJM:USAO#2020R00104
                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                 DISTRICT OF MARYLAND
                          IN THE UNITED STATES DISTRICT COURT                    BY ______________Deputy
                             FOR THE DISTRICT OF MARYLAND                               jf


  UNITED STATES OF AMERICA                        :     CRIMINAL NO. PJM 21CR30
                                                  :
         v.                                       :     (Theft Of Government Property, 18
                                                  :     U.S.C. § 641)
  VENKATESH RAO,                                  :
                                                  :
               Defendant.                         :
                                                  :
                                                  :
                                                  :
                                              ...oOo...

                                       INFORMATION

       The United States Attorney for the District of Maryland charges:

       On or about November 9, 2019, in the District of Maryland and elsewhere, the defendant,

VENKATESH RAO, did willfully and knowingly steal, purloin, and convert to his own use

property of the Federal Reserve Board, to wit: proprietary documents used by the Federal

Reserve Board to conduct bank stress tests.


18 U.S.C. ' 641




 2-22-21
____________                                    _________________________________
Date                                            JONATHAN F. LENZNER
                                                ACTING UNITED STATES ATTORNEY
